Case: 4:20-cr-00384-HEA Doc. #: 52-2 Filed: 08/11/21 Page: 1 of 7 PageID #: 125
Case: 4:20-cr-00384-HEA Doc. #: 52-2 Filed: 08/11/21 Page: 2 of 7 PageID #: 126
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Case: 4:20-cr-00384-HEA Doc. #: 52-2 Filed: 08/11/21 Page: 4 of 7 PageID #: 128
Case: 4:20-cr-00384-HEA Doc. #: 52-2 Filed: 08/11/21 Page: 5 of 7 PageID #: 129
Case: 4:20-cr-00384-HEA Doc. #: 52-2 Filed: 08/11/21 Page: 6 of 7 PageID #: 130
Case: 4:20-cr-00384-HEA Doc. #: 52-2 Filed: 08/11/21 Page: 7 of 7 PageID #: 131
